                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                     )
           Plaintiff,                          )
                                               )        Case No.: 6:18-03083-01-CR-S-RK
v.                                             )
                                               )        Date: Friday, July 26, 2019
 RICHARD L. TURNER,                            )
            Defendant.                         )

                                      MINUTE SHEET


The Honorable Roseann A. Ketchmark, presiding at Springfield, Missouri

Nature of Proceeding: Sentencing Hearing

Time commenced:       10:24 a.m.                   Time terminated: 10:37 a.m.

                                     APPEARANCES

Plaintiff’s counsel: Patrick Carney, AUSA
Defendant’s counsel: Michelle Nahon Moulder, AFPD
Probation officer:   Tracy D. Cowin


PROCEEDINGS IN COURTROOM: Parties appear as indicated above. Defendant appears
in person. There are no objections to the Presentence Investigation Report that affect the
guidelines or sentence imposed as stated on the record. The Court adopts the Report without
change. Sentencing recommendations presented by counsel. Allocution granted to the
defendant.

SENTENCE: Defendant sentenced to the custody of the Bureau of Prisons for a term of 12
          months on Count(s) 1 of the Indictment. Supervised release of 3 years
          w/mandatory, standard, and special conditions imposed. Fine waived. MSA of
          $100.00 imposed. Restitution: $0. Defendant advised of right to appeal.
          Defendant remanded to the custody of the U.S. Marshal.




Court Reporter: Jean Crawford                            Courtroom Deputy: LaTandra Wheeler
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